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Counsel for Movant Cameron Wyatt
and Proposed Lead Counsel for the
Class

[Additional Counsel on signature page]

                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY

TREY GREENE, individually and on           Case No. 2:23-cv-01165-KM-LDW
behalf of all others similarly situated,
                                           NOTICE OF MOTION OF
                           Plaintiff,      CAMERON WYATT FOR
                                           APPOINTMENT AS LEAD
     v.                                    PLAINTIFF AND APPROVAL OF
                                           LEAD PLAINTIFF’S SELECTION
ZAC PRINCE, FLORI MARQUEZ,                 OF LEAD COUNSEL
TONY LAURA, JENNIFER HILL
and GEMINI TRADING, LLC,                   Motion Date: June 5, 2023

                           Defendants.
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TO: ALL PARTIES AND THEIR COUNSEL OF RECORD

      PLEASE TAKE NOTICE that Cameron Wyatt (“Wyatt”), by and through his

counsel, will and does hereby move this Court, pursuant to Section 27(a)(3) of the

Securities Act of 1933, 15 U.S.C. § 77z-1(a)(3), and Section 21D(a)(3) of the

Securities Exchange Act of 1934, 15 U.S.C. § 78u-4(a)(3), as amended by the

Private Securities Litigation Reform Act of 1995, for an Order: (1) appointing

Wyatt as Lead Plaintiff on behalf of a class consisting of all persons and entities

other than the above-captioned defendants who invested in a BlockFi, Inc. Interest

Account between March 4, 2019 and November 28, 2022, both dates inclusive (the

“Class”); and (2) approving proposed Lead Plaintiff’s selection of Pomerantz LLP

as Lead Counsel for the Class.

Dated: May 1, 2023                          Respectfully submitted,

                                            POMERANTZ LLP

                                            /s/ Thomas H. Przybylowski
                                            Thomas H. Przybylowski
                                            Jeremy A. Lieberman
                                            (pro hac vice application forthcoming)
                                            J. Alexander Hood II
                                            (pro hac vice application forthcoming)
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                                        Counsel for Movant Cameron Wyatt and
                                        Proposed Lead Counsel for the Class

                                        BRONSTEIN, GEWIRTZ &
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                                        Additional Counsel for Movant
                                        Cameron Wyatt




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